
In re Miller, Purnell E.; — Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Orleans, Criminal District Court Div. C, No. 374-657; to the Court of Appeal, Fourth Circuit, No. 2002-K-0725.
Denied. Untimely, repetitive and not cognizable on collateral review. La. C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172; La.C.Cr.P. art. 930.4(A); cf. La. C.Cr.P. art. 930.4(D).
